 8:13-cr-00314-LSC-SMB          Doc # 66    Filed: 10/15/13    Page 1 of 1 - Page ID # 112




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                 8:13CR314
                       Plaintiff,              )
                                               )
       vs.                                     )                   ORDER
                                               )
JOHNNY MARTINEZ,                               )
ANISHA MARTINEZ,                               )
ANTHONY WEINRICH,                              )
MARK PIPER, and                                )
JACKLYNN WALKER,                               )
                                               )
                       Defendants.             )
       This matter is before the court on the motion for an extension of time by defendants
Johnny Martinez (Filing No. 64) and Mark Piper (Filing No. 63). The motions will be granted.


       IT IS ORDERED:
       Defendant Martinez's and Piper's motions for an extension of time (Filing Nos. 64 and
63) are granted. The defendants are given until on or before November 15, 2013, in which
to file pretrial motions pursuant to the progression order. The ends of justice have been
served by granting such motions and outweigh the interests of the public and the defendants
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between October 15, 2013, and November 15, 2013, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason
defendants' counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice.       18 U.S.C. §
3161(h)(7)(A) & (B).
       DATED this 15th day of October, 2013.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
